
PETITION FOR REINSTATEMENT FROM INACTIVE STATUS

ORDER

PER CURIAM:
AND NOW, this 29th day of September, 2004, The Report and Recommendations of The Disciplinary Board of the Supreme Court of Pennsylvania dated August 24, 2004, are approved and IT IS ORDERED that EVA MARGARITA PLAZA, who has been on inactive status, has never been suspended or disbarred, and has demonstrated that she has the moral qualifications, competency and learning in law required for admission to practice in the Commonwealth, shall be and is, hereby reinstated to active status as a member of the Bar of this Commonwealth.
Pursuant to Rule 218(e), Pa.R.D.E., petitioner is directed to pay the expenses incurred by the Board in the investigation and processing of the Petition for Reinstatement.
